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                                  US DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

Josephine Freeman,
       Plaintiff,                                             Case No 2:11-CV-11754

vs                                                            Judge Lawrence P Zatkoff


Consumer Portfolio Services Inc.
      Defendant.


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          REQUEST FOR VOLUNTARY DISMISSAL OF CASE WITH PREJUDICE

Plaintiff, having requested dismissal of the case with prejudice, and this court finding sufficient

reason to grant request; it is hereby ORDERED that the above captioned case is dismissed with

prejudice.     This is the final order, closing this case.



                                                       s/Lawrence P. Zatkoff
                                                       US DISTRICT COURT JUDGE
Dated: September 20, 2011

Relief requested by:

____/s/__James Shaw___
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